      Case 4:21-cr-06022-SAB            ECF No. 178      filed 08/20/22     PageID.507 Page 1 of 3



1    NICHOLAS MARCHI
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     Kennewick WA 99336
3    (509) 545-1055
     Attorneys for Defendant
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6                               UNITED STATES DISTRICT COURT
                       IN AND FOR THE EASTERN DISTRICT OF WASHINGTON
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8    UNITED STATES OF AMERICA,                          Case No.4:21-CR-06022-SAB-3
9                    Plaintiff,                         UNOPPOSED MOTION FOR
                                                        COUNSEL TO APPEAR
10          vs.                                         TELEPHONICALLY AT PRE-TRIAL
                                                        CONFERENCE
11   ROSA MARTINEZ RODRIGUEZ,
                                                        Note: August 23, 2022 at 6:30 pm
12                   Defendant                          (Without Argument)
                                                        Judge Bastian at Yakima
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14
            COMES now the Defendant, by and through her attorneys and requests this Court grant
15
     the defendant’s request to allow her counsel, or coverage counsel to appear at the Pre-Trial
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     Status Conference on August 24, 2022, via the telephone. This motion is based on the following
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     statements of facts.
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19                                 Statement of facts in support of Motion

20          1. The defendant is currently scheduled for a Pre-Trial Conference on August 24, 2022,
21                at 11:00 am.

22          2. The defendant is requesting that counsel or coverage counsel be allowed to appear via

23                telephone, as counsel will be in Seattle, Washington that day in trial.

24          3. The defendant has been advised of the request to appear telephonically and has

25                agreed to the request. The government does not oppose this request.




     MOTION FOR TELEPHONIC APPEARANCE
     OF COUNSEL AT PRE-TRIAL CONFERENCE - 1
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1          4. I do not believe the Government will be prejudiced as the only pending motion is to
2             continue the trial which the defendant agrees. I would respectfully request that my

3             motion be granted.

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5          Dated this 19th day of August 2022.

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                                        Respectfully submitted,

                                        S/ Nicholas Marchi
7
                                        Nicholas Marchi, WSBA 19982
8                                       CARNEY & MARCHI
                                        Attorneys for Defendant
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     MOTION FOR TELEPHONIC APPEARANCE
     OF COUNSEL AT PRE-TRIAL CONFERENCE - 2
      Case 4:21-cr-06022-SAB        ECF No. 178      filed 08/20/22   PageID.509 Page 3 of 3



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                                    CERTIFICATE OF SERVICE
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              I certify that a copy of the Motion and Declaration was ECF and or faxed or and mailed
6    first class, postage prepaid on 8/19/20221, to C. Baunsgaurd, Assistant United States Attorney,
     402 E. Yakima Ave, Suite 210, Yakima, WA 98901 or P.O. Box 1494, Spokane, WA 99210
7    and to all codefendant’s counsel of record

8           s/Nicholas Marchi
            CARNEY & MARCHI, P.S.
9           Attorneys for Defendant
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     MOTION FOR TELEPHONIC APPEARANCE
     OF COUNSEL AT PRE-TRIAL CONFERENCE - 3
